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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________________
JOSEPH BIASI, individually and on behalf of all others
similarly situated,                                    CROSS
                                                           NOTICE OF MOTION
                                     Plaintiffs,
             -against-                                     Case No.: 6:15-cv-0454

WAL-MART STORES EAST, LP, EARLENE
SCHAEFFER, RYAN DUNPHY and REBECCA
PAUKSTELA,

                              Defendants,
_____________________________________________

        PLEASE TAKE NOTICE THAT, upon the annexed Declaration of Ryan M, Finn, with

 Exhibits, and the Plaintiff’s Memorandum of Law, Plaintiff hereby moves pursuant to FRCP 15

 to amend the Complaint and deem the Third Amended Complaint filed and served, together

 with such further and other relief this Court deems just and proper.



Dated: September 19, 2016                            E. STEWART JONES
                                                     HACKER MURPHY, LLP




                                                     ___________________________
                                                     Ryan M. Finn, Esq.
                                                     Attorneys for Plaintiff
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